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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

 BRITTANY BEAGLEY, individually and on behalf                            CLASS ACTION
 of all others similarly situated,

       Plaintiff,                                                   JURY TRIAL DEMANDED

 vs.

 ACIA KL AUTO LLC,

   Defendant.


   CLASS ACTION COMPLAINT FOR DAMAGES AND DECLARATORY RELIEF

           1.       Plaintiff Brittany Beagley brings this action against Defendant, ACIA KL Auto,

LLC, to secure redress for violations of the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227.

                                       NATURE OF THE ACTION

           2.       This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 et seq., (“TCPA”), arising from Defendant’s knowing and willfully violations.

           3.       To gain an advantage over its competitors and increase its revenue, Defendant engages

in unsolicited telemarketing, with no regard for consumers’ privacy rights.

           4.       This case arises from Defendant’s transmission of telephone calls and voice messages

to the cellular telephones of Plaintiff and others, promoting Defendant’s services and goods.

           5.       Defendant is an automotive dealership that sells vehicles for individuals and

businesses. To promote its services, Defendant engages in unsolicited marketing, harming

thousands of consumers in the process
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        6.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct

which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

of thousands of individuals. Plaintiff also seeks statutory damages on behalf of herself and members of

the class, and any other available legal or equitable remedies.

                                     JURISDICTION AND VENUE

        7.       Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

which will result in at least one class member belonging to a different state than that of Defendant.

Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

jurisdiction are present.

        8.       Venue is proper in the United States District Court for the Northern District of Illinois

pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

in which it is subject to the court’s personal jurisdiction, Defendant resides within this district, and

because Defendant provides and markets its services within this district thereby establishing sufficient

contacts to subject it to personal jurisdiction. Further, Defendant’s tortious conduct against Plaintiff

occurred within the State of Illinois and, on information and belief, Defendant has sent the same text

messages complained of by Plaintiff to other individuals within this judicial district, such that some of

Defendant’s acts in making such calls have occurred within this district, subjecting Defendant to

jurisdiction in the State of Illinois.

                                                PARTIES
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        9.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

Hennepin County, Minnesota.

        10.     Defendant is a Delaware corporation whose principal office is located at 6750 Lincoln

Ave, Lincolnwood, IL 60712. Defendant directs, markets, and provides its business activities

throughout the State of Illinois.

                                             THE TCPA

        11.     The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

an automatic telephone dialing system or an artificial or prerecorded voice; (3) without the recipient’s

prior express consent. 47 U.S.C. § 227(b)(1)(A).

        12.     The TCPA defines an “automatic telephone dialing system” (“ATDS”) as

“equipment that has the capacity - (A) to store or produce telephone numbers to be called, using a

random or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

        13.     The TCPA exists to prevent communications like the ones described within this

Complaint. “Voluminous consumer complaints about abuses of telephone technology—for example,

computerized calls dispatched to private homes—prompted Congress to pass the TCPA.” Mims v.

Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

        14.     In an action under the TCPA, a plaintiff must only show that the defendant “called a

number assigned to a cellular telephone service using an automatic dialing system or prerecorded

voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

F.3d 1265 (11th Cir. 2014).

        15.     The Federal Communications Commission (“FCC”) is empowered to issue rules and

regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater
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nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

they pay in advance or after the minutes are used. Rules and Regulations Implementing the Telephone

Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014

(2003).

          16.   In 2012, the FCC issued an order tightening the restrictions for automated telemarketing

calls, requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of

Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20

(Feb. 15, 2012) (emphasis supplied).

          17.   To obtain express written consent for telemarketing calls, a defendant must establish

that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

disclosure’ of the consequences of providing the requested consent….and having received this

information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

          18.   The TCPA regulations promulgated by the FCC define “telemarketing” as “the

initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

          19.   “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).
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          20.   “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R. § 64.1200(f)(12); In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

WL 21517853, at *49).

          21.   The FCC has explained that calls motivated in part by the intent to sell property, goods,

or services are considered telemarketing under the TCPA.           See In re Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

services during the call or in the future. Id.

          22.   In other words, offers “that are part of an overall marketing campaign to sell

property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

(2003).

          23.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

“for non-telemarketing and non-advertising calls”).

          24.   As recently held by the United States Court of Appeals for the Ninth Circuit:

“Unsolicited telemarketing phone calls or text messages, by their nature, invade the privacy and disturb

the solitude of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any

additional harm beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No.
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14-55980, 2017 U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1549 (2016) (emphasis original)).

                                              FACTS

          25.   Over the past year, Defendant caused dozens of calls with voice messages to be

transmitted to Plaintiff’s cellular telephone number ending in 3029 (the “3029 Number”).

          26.   Because Plaintiff did not answer her telephone after it rang, a voicemail message

was left on Plaintiff’s phone each time.

          27.   The following is a transcript of a voicemail that was left in Plaintiff’s voicemail

box:

                Hi Brittany, this is Grossinger Kia following up with some
                information we still have pertaining to your 2015 soreno. Give us a
                call back here at the dealership at 847-665-9987. And ask for Eric
                Perez in our buy-back department for more information. Thank you
                have a great day; we look forward to your call.

          28.   Defendant caused numerous voicemails to be left on Plaintiff’s phone with similar

messages prompting Plaintiff to contact Eric Perez in the buy-back department.

          29.   The calls and voice messages at issue were transmitted to Plaintiff’s cellular

telephone, and within the time frame relevant to this action.

          30.   Defendant’s messages constitute telemarketing because they encourage the future

purchase or investment in property, goods, and/or services, i.e., requesting Plaintiff contact

Defendants buy-back department so Defendant could purchase Plaintiff’s vehicle to then sell at

profit.

          31.   The calls and voice messages Plaintiff received originated from multiple different

telephone numbers, including the number (847)-665-9987, which is owned and/or operated by or

on behalf of Defendant.
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         32.    Defendant’s principal place of business is located within this judicial district. Upon

information and belief, Defendant caused other calls and voice messages to be sent to individuals

residing within this judicial district.

         33.    At no point in time did Plaintiff provide Defendant with her express consent to be

contacted with a call or voicemail.

         34.    Plaintiff is the subscriber and sole user of the 3029 Number and is financially

responsible for phone service to the 3029 Number.

         35.    Plaintiff has been registered with the national do-not-call registry since July 27,

2005.

         36.    Defendant’s unsolicited calls and voicemails caused Plaintiff actual harm,

including invasion of her privacy, aggravation, annoyance, intrusion on seclusion, trespass, and

conversion. Defendant’s calls also inconvenienced Plaintiff and caused disruption to her work-day

as she received the calls and voice messages while at work. See Patriotic Veterans, Inc. v. Zoeller,

No. 16- 2059, 2017 WL 25482, at *2 (7th Cir. Jan. 3, 2017) (“Every call uses some of the phone

owner's time and mental energy, both of which are precious.”).

         37.    Defendant’s unsolicited calls and voice messages caused Plaintiff actual harm.

Specifically, Plaintiff estimates that she has wasted approximately 1 hour reviewing all of

Defendant’s unwanted messages. Each time, Plaintiff had to stop what she was doing to either

retrieve her phone and/or look down at the phone to review the message.

         38.    Furthermore, Defendant’s voice messages took up memory on Plaintiff’s cellular

phone. The cumulative effect of unsolicited voice messages like Defendant’s poses a real risk of

ultimately rendering the phone unusable for voice messaging purposes as a result of the phone’s

memory being taken up. See https://www.consumer.ftc.gov/articles/0350-text-message-spam#text
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(finding that text message solicitations, similar to the calls and voicemails sent by Defendant present a

“triple threat” of identity theft, unwanted cell phone charges, and slower cell phone performance).

        39.     Defendant’s voice messages also can slow cell phone performance by taking up space

on the recipient phone’s memory. See https://www.consumer.ftc.gov/articles/0350-text-message-

spam#text (finding that spam text messages can slow cell phone performance by taking up phone

memory space).

                                       CLASS ALLEGATIONS

                                             PROPOSED CLASS

        40.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

herself and all others similarly situated.

        41.     Plaintiff brings this case on behalf of a Class defined as follows:


                No Consent Class: All persons within the United States who, within the
                four years prior to the filing of this Complaint, were sent a prerecorded
                message, from Defendant or anyone on Defendant’s behalf, to said
                person’s cellular telephone number, without emergency purpose and
                without the recipient’s prior express written consent.

                Do Not Call Registry Class: All persons in the United States who from four
                years prior to the filing of this action (1) were sent a prerecorded or live
                message by or on behalf of Defendant; (2) more than one time within any
                12-month period; (3) where the person’s telephone number had been listed
                on the National Do Not Call Registry for at least thirty days; (4) for the
                purpose of selling Defendant’s products and services; and (5) for whom
                Defendant claims (a) it did not obtain prior express written consent, or (b)
                it obtained prior express written consent in the same manner as Defendant
                claims it supposedly obtained prior express written consent to call the
                Plaintiff.

        42.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

know the number of members in the Class, but believes the Class members number in the several

thousands, if not more.

            NUMEROSITY
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        43.      Upon information and belief, Defendant has placed calls to cellular telephone numbers

belonging to thousands of consumers throughout the United States without their prior express consent.

The members of the Class, therefore, are believed to be so numerous that joinder of all members is

impracticable.

        44.      The exact number and identities of the Class members are unknown at this time and can

only be ascertained through discovery. Identification of the Class members is a matter capable of

ministerial determination from Defendant’s call records.

        COMMON QUESTIONS OF LAW AND FACT

        45.      There are numerous questions of law and fact common to the Class which predominate

over any questions affecting only individual members of the Class. Among the questions of law and

fact common to the Class are:

                 (1) Whether Defendant made non-emergency prerecorded telemarketing calls to

                 Plaintiff’s and Class members’ cellular telephones;

                 (2) Whether Defendant can meet its burden of showing that it obtained prior express

                 written consent to make such calls;

                 (3) Whether Defendant initiated telemarketing calls to telephone numbers listed on

                 the National Do Not Call Registry;

                 (4) Whether Defendant’s conduct was knowing and willful;

                 (5) Whether Defendant is liable for damages, and the amount of such damages; and

                 (6) Whether Defendant should be enjoined from such conduct in the future.

        46.      The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendant routinely transmits calls and voice messages to telephone numbers assigned to

cellular telephone services is accurate, Plaintiff and the Class members will have identical claims

capable of being efficiently adjudicated and administered in this case.
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        TYPICALITY

        47.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

on the same factual and legal theories.

        ADEQUACY

        48.     Plaintiff is a representative who will fully and adequately assert and protect the interests

of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.

        49.     In addition, Plaintiff has retained counsel with substantial experience in prosecuting

complex litigation and class actions, including those involving violations of the TCPA. Plaintiff

and her counsel are committed to vigorously prosecuting this action on behalf of the other

respective members of the Class and have the financial resources to do so. Neither Plaintiff nor

her counsel have any interests adverse to those of the other members of the Class.

              PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

        50.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

Class are in the millions of dollars, the individual damages incurred by each member of the Class

resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

and, even if every member of the Class could afford individual litigation, the court system would be

unduly burdened by individual litigation of such cases.

        51.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

one court might enjoin Defendant from performing the challenged acts, whereas another may not.
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Additionally, individual actions may be dispositive of the interests of the Class, although certain class

members are not parties to such actions.

                                              COUNT I
                             Violations of the TCPA, 47 U.S.C. § 227(b)
                               (On Behalf of Plaintiff and the Class)

          52.     Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

herein.

          53.     It is a violation of the TCPA to make “any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using any

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service ….” 47 U.S.C. § 227(b)(1)(A)(iii).

          54.     Defendant – or third parties directed by Defendant – transmitted calls using an

artificial or prerecorded voice to the cellular telephone numbers of Plaintiff and members of the

putative class.

          55.     These calls were made without regard to whether Defendant had first obtained

express permission from the called party to make such calls. In fact, Defendant did not have prior

express consent to call the cell phones of Plaintiff and the other members of the putative Class

when its calls were made.

          56.     Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

artificial or prerecorded voice to make non-emergency telephone calls to the cell phones of

Plaintiff and the other members of the putative Class without their prior express consent.

          57.     Defendant knew that it did not have prior express consent to make these calls, and

knew or should have known that it was using an artificial or prerecorded voice. The violations

were therefore willful or knowing.
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        58.     As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA,

Plaintiff and the other members of the putative Class were harmed and are each entitled to a

minimum of $500.00 in damages for each violation. Plaintiff and the class are also entitled to an

injunction against future calls. Id.

        59.     Because Defendant knew or should have known that Plaintiff and the other

members of the putative Class had not given prior express consent to receive its prerecorded calls

to their cellular telephones the Court should treble the amount of statutory damages available to

Plaintiff and the other members of the putative Class pursuant to § 227(b)(3) of the TCPA.

                                        COUNT II
              Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)
                          (On Behalf of Plaintiffs and the Class)

        60.     Plaintiff re-allege and incorporates paragraphs 1-51 as if fully set forth herein.

        61.     At all times relevant, Defendant knew or should have known that its conduct as

alleged herein violated the TCPA.

        62.     Defendant knew that it did not have prior express consent to transmit voice calls or

voice messages and knew or should have known that its conduct was a violation of the TCPA.

        63.     Because Defendant knew or should have known that Plaintiffs and Class Members

had not given prior express consent to receive its calls and voice messages, the Court should treble

the amount of statutory damages available to Plaintiffs and the other members of the putative Class

pursuant to § 227(b)(3) of the TCPA.

        64.     As a result of Defendant’s violations, Plaintiffs and the Class Members are entitled

to an award of $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.

§ 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                            COUNT III
                              Violation of the TCPA, 47 U.S.C. § 227
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                   (On Behalf of Plaintiff and the Do Not Call Registry Class)

        65.     Plaintiff repeats and realleges the paragraphs 1 through 51 of this Complaint and

incorporates them by reference herein.

        66.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber who has

registered his or her telephone number on the national do-not-call registry of persons who do not wish

to receive telephone solicitations that is maintained by the federal government.”

        67.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any person

or entity making telephone solicitations or telemarketing calls to wireless telephone numbers.”1

        68.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any call

for telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing calls

made by or on behalf of that person or entity.”

        69.     Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this subsection

may” may bring a private action based on a violation of said regulations, which were promulgated to

protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object. 47 U.S.C. § 227(c).

        70.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry Class

members who registered their respective telephone numbers on the National Do Not Call Registry, a



1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
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listing of persons who do not wish to receive telephone solicitations that is maintained by the federal

government.

        71.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call Registry

Class received more than one telephone call in a 12-month period made by or on behalf of Defendant

in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s conduct as alleged

herein, Plaintiff and the Do Not Call Registry Class suffered actual damages and, under section 47

U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R.

§ 64.1200.

        72.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages recoverable by

the members of the Do Not Call Registry Class.

                                       PRAYER FOR RELIEF
        WHEREFORE, Plaintiff Brittany Beagley on behalf of herself and the other members of

the Class, pray for the following relief:

        a. A declaration that Defendant’s practices described herein violate the Telephone

Consumer Protection Act, 47 U.S.C. § 227;

        b. An injunction prohibiting Defendant from using an artificial or prerecorded voice to

contact telephone numbers assigned to cellular telephones without the prior express permission of

the called party;

        c. An injunction prohibiting Defendant from initiating any call for telemarketing purposes

to any telephone subscriber who has registered his or her telephone number on the national do-not-call

registry;

        d. An award of actual and statutory damages; and

        e. Such further and other relief the Court deems reasonable and just.
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                                        JURY DEMAND

         Plaintiff and Class Members hereby demand a trial by jury.


Dated: February 10, 2020

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